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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                       No. 1:18-cv-00039-JTN-SJB
      Plaintiff,
                                       HON. JANET T. NEFF
v.
                                       MAG. SALLY J. BERENS
WOLVERINE WORLD WIDE, INC.,
                                       NOTICE OF LODGING OF
      Defendant.                       PROPOSED CONSENT DECREE

and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                   /

WOLVERINE WORLD WIDE, INC.,

      Third-Party Plaintiff,

v.

3M Corporation,

      Third-Party Defendant.
                                   /
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                                       /
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        NOTICE OF LODGING OF PROPOSED CONSENT DECREE

      Plaintiff, Michigan Department of Environmental Quality 1 (MDEQ),

Intervening Plaintiffs, Plainfield Charter Township and Algoma Township, and

Defendant, Wolverine World Wide, Inc., hereby give notice to the Court of lodging a

Consent Decree in the above-referenced case.

      The Consent Decree will be subject to a short public comment period.

      The Parties anticipate filing a Motion for Entry of Proposed Consent Decree

on or around February 14, 2020. The State plans to submit a responsiveness

summary addressing comments received along with the Motion for Entry.

      In order to begin construction of the municipal water service system this

construction season, the Parties respectfully request the Court to review and enter

as expeditiously as possible the Consent Decree after the Motion for Entry is filed

on or around February 14, 2020.

Dated: February 3, 2020

/s/ Danielle Allison-Yokom                    /s/ Scott M. Watson
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1Pursuant to Executive Order 2019-06, effective April 22, 2019, the Department of
Environmental Quality was renamed the Department of Environment, Great Lakes,
and Energy.

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